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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 21-22440-CIV-WILLIAMS

  DONALD J. TRUMP, et al.,

         Plaintiffs,

  v.

  FACEBOOK, INC., et al.,

         Defendants.

  _______________________/

                ORDER DENYING MOTION FOR LEAVE TO FILE AMICUS BRIEF

         THIS MATTER is before the Court on the motion for leave to file a brief as amici curiae,

  filed by Chris Sevier, John Gunter, Jr., and Rich Penkoski (collectively, “amici”). (DE 27.) Plaintiffs

  have filed a response. (DE 33.) For the following reasons, the amici’s motion (DE 27) is DENIED.

         As background, in the above-captioned case, Donald J. Trump and putative class

  members (collectively, “Plaintiffs”) have initiated an action against Facebook, Inc. and Mark

  Zuckerberg (collectively, “Defendants”), alleging that Defendants violated the First Amendment

  and seeking declaratory judgment that Section 230 of the federal Communications Decency Act,

  codified at 47 U.S.C. § 230, is unconstitutional. (DE 1; DE 16.) In an amended complaint, Plaintiffs

  have brought additional claims against Defendants under the Florida Deceptive and Unfair Trade

  Practices Act, codified in relevant part at Fla. Stat. §§ 501.2041, 501.211, seeking damages and

  injunctive relief. (DE 16 at 52-56.) On August 4, 2021, the amici filed a motion for leave to file a

  brief as amici curiae. (DE 27.) The amici seek to file an amicus brief “on the narrow issue of

  standing, given how the original complaint is pled.” (Id. at 1.)

         District courts “possess[] the inherent authority to appoint amici to assist in a proceeding.”

  City of South Miami v. DeSantis, 2019 WL 9514566, at *1 (S.D. Fla. Dec. 10, 2019) (quoting

  Resort Timeshare Resales, Inc. v. Stuart, 764 F. Supp. 1495, 1501 (S.D. Fla. 1991)). “As a

  corollary to such power, district courts also have the inherent authority to deny leave to file an


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  amicus curiae brief.” United States v. UBS AG, 2009 WL 10669118, at *1 (S.D. Fla. May 19, 2009)

  (citing Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008)). “The circumstances

  under which an amicus brief is considered desirable . . . are limited . . . .” Dibbs v. Hillsborough

  Cty., Fla., 2014 WL 12839780, at *1 (M.D. Fla. Dec. 4, 2014). Courts typically allow amicus briefs

  when: (1) a party in a matter is “not represented competently or is not represented at all”; (2) the

  amici “has an interest in some other case that may be affected by the decision in the present

  case”; or (3) when the amici “has unique information or perspective that can help the court beyond

  the help that lawyers for the parties are able to provide.” Id. (quoting Citizens Against Casino

  Gambling in Erie Cty. v. Kempthorne, 471 F. Supp. 2d 295, 311 (W.D.N.Y. 2007) (internal

  quotations omitted)).

      I.      DISCUSSION

           First, the amici have not stated that they do not believe that either party is represented

  competently, nor have they proffered any evidence to suggest that is the case. Plaintiffs are

  represented in this matter by counsel, and Plaintiffs’ counsel has stated that they are “perfectly

  capable of presenting all the arguments relevant to this case . . . .” (DE 33 at 4.) As of the date of

  this Order, it remains unclear whether Defendants have been served. However, the Court cannot

  infer from this—and the amici have not provided the Court with any authority to suggest it can—

  that Defendants will be unrepresented in this matter, should Plaintiffs execute service and

  Defendants make an appearance.

           Second, the amici state that they have filed “a lawsuit against the [U.S.] Attorney General

  on the same topic.” 1 (DE 27 at 1-2.) However, the amici fail to state in their motion how or why



  1 It appears from the amici’s motion that this lawsuit is Chris Sevier, De Facto Attorneys General, John
  Gunter, Special Forces of Liberty, Richard Penkoski, Warriors for Christ v. Merrick Garland and Ron
  DeSantis, No. 1:21-CV-22577, filed here in the Southern District of Florida before Judge Darrin P. Gayles.
  In the complaint, the plaintiffs state, “This case creates a binary that asks for a logically consistent outcome
  by the Judicial branch, who is tasked with the obligation to interpret Section 230, the Stop Social Media
  Censorship Act, and SB7072 in view of the doctrine of preemption created by the Supremacy Clause and
  the First Amendment of the United States Constitution.” Compl. (ECF No. 1), Sevier et al. v. Garland et al.,
  No. 1:21-CV-22577.


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  this lawsuit “‘may be affected by the decision in the present case.’” Dibbs, 2014 WL 12839780, at

  *1 (quoting Citizens Against Casino Gambling in Erie Cty., 471 F. Supp. 2d at 311).

         Third, it appears that the amici do not have “unique information or perspective[s]” to assist

  the Court in determining whether Plaintiffs have standing to sue Defendants. While the amici claim

  that they “have litigated Section 230 issues and social media censorship before a host of [f]ederal

  [c]ourts” (DE 27 at 2), they fail to state how or why these cases enable them to assist the Court

  on the issue of standing here. Further, the amici’s efforts in introducing and advocating for the

  passage of state legislation and testifying before various legislative committees neither relate to

  the issue of standing nor to any other justiciable issue in this matter.

         For the foregoing reasons, it is ORDERED AND ADJUDGED that the amici’s motion for

  leave to file a brief as amici curiae (DE 27) in this matter is DENIED.

         DONE AND ORDERED in Chambers in Miami, Florida on this 18th day of August, 2021.




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